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11                         UNITED STATES DISTRICT COURT
12
                         CENTRAL DISTRICT OF CALIFORNIA
13
     RANDY ROMERO,                          ) Case No.
14                                          )
15
           Plaintiffs,                      ) COMPLAINT FOR DAMAGES FOR:
                                            )
16         vs.                              ) 1. Violation Of 42 U.S.C. § 1983; Fourth
                                            )     Amendment Rights – Excessive /
17
     COUNTY OF LOS ANGELES; and             )     Unreasonable Force;
18
     DOES 1 through 10, inclusive,          ) 2. Violation Of 42 U.S.C. § 1983;
                                            )     Violation Of Fourth Amendment
19
          Defendants.                       )     Rights - Unlawful / Unreasonable
20                                                Seizure Of Person;
                                            )
21                                          ) 3. Violation of 42 U.S.C. § 1983;
                                            )     Violation of First Amendment –
22
                                            )     Freedom of Speech;
23
                                            ) 4. Violation Of 42 U.S.C. § 1983; Failure
                                            )     To Property Train / Hire / Fire /
24
                                            )     Discipline;
                                            ) 5. Violation Of 42 U.S.C. § 1983; Monell
25

26                                          )     Liability – Custom, Practice or Policy.
                                                  JURY TRIAL DEMANDES
27

28



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 1
            COMES NOW Plaintiff Randy Romero and shows this honorable court the
 2   following:
 3
                               JURISDICTIONAL ALLEGATIONS
 4

 5          1.     As this action is brought under 42 U.S.C. § 1983, this court has jurisdiction
 6
     over this case under its federal question jurisdiction pursuant to 28 U.S.C. § 1331.
 7

 8          2.     As the incidents complained of in this action occurred within the territorial
 9
     jurisdiction of this court, venue properly lies in this court pursuant to 28 U.S.C. §
10
     1391(b)(2).
11

12                                 GENERAL ALLEGATIONS
13
            3.     Plaintiff Randy Romero, referred to as “ROMERO” or “Plaintiff ROMERO”
14

15   is a natural person, who, at all times complained of in this action resided in the County of
16
     Los Angeles, State of California.
17

18
            4.     Defendant COUNTY OF LOS ANGELES hereinafter also referred to as

19   “COUNTY” is a municipal entity located in the State of California; within the territorial
20
     jurisdiction of this court.
21

22          5.     Defendants DOES 1 through 6, inclusive, are sworn peace officers and / or
23
     police officers and/or deputy sheriffs and/or investigators and/or Special Officers and/or a
24

25   dispatchers and/or some other public officer, public official or employee of defendant
26
     COUNTY and/or otherwise employed by the Los Angeles County Sheriff’s Department,
27
     who in some way committed some or all of the tortious actions (and constitutional
28



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 1
     violations) complained of in this action, and/or are otherwise responsible for and liable to
 2   plaintiff for the acts complained of in this action, whose identities are, and remain
 3
     unknown to plaintiff, who will amend his complaint to add and to show the actual names
 4

 5   of said DOE defendants when ascertained by plaintiff.
 6
           6.     At all times complained of herein, DOES 1 through 6, inclusive, were acting
 7

 8   as individual persons acting under the color of state law, pursuant to their authority as
 9
     sworn peace officers and/or deputy sheriffs and/or Special Officers and/or Supervisors
10
     (i.e. Sergeants, Lieutenants, Captains, Commanders, etc.) and/or dispatchers, employed
11

12   by the Los Angeles County Sheriff’s Department, and were acting in the course of and
13
     within the scope of their employment with defendant COUNTY.
14

15         7.     Defendants DOES 7 through 10, inclusive, are sworn peace officers and/or
16
     the Sheriff and/or Assistant Sheriffs and/or Commanders and/or Captains and/or
17

18
     Lieutenants and/or Sergeants and/or other Supervisory personnel and/or policy making

19   and/or final policy making officials, employed by the Los Angeles County Sheriff’s
20
     Department and/or defendant County of Los Angeles, who are in some substantial way
21

22   liable and responsible for, or otherwise proximately caused and/or contributed to the
23
     occurrences complained of by plaintiff in this action, such as via supervisory liability (i.e.
24

25   failure to properly supervise, improperly directing subordinate officers, approving actions
26
     of subordinate officers), via bystander liability (failing to intervene in and stop unlawful
27
     actions of their subordinates and/or other officers), and such as by creating and/or causing
28



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 1
     the creation of and/or contributing to the creation of the policies and/or practices and/or
 2   customs and/or usages of the Los Angeles County Sheriff’s Department for, inter alia,: 1)
 3
     using excessive force; 2) for unlawfully seizing persons; and 3) retaliating against
 4

 5   persons constitutionally protected speech; and 4)for covering up the tortious conduct of
 6
     Los Angeles County Sheriff’s Department deputies.
 7

 8         8.     At all times complained of herein, DOES 7 through 10, inclusive, were
 9
     acting as individual persons acting under the color of state law, pursuant to their authority
10
     as the Sheriff and/or the Assistant Sheriff and/or Captains and/or Lieutenants and/or
11

12   Sergeants and/or other Supervisory personnel and/or policy making and/or final policy
13
     making officials with the Los Angeles County Sheriff’s Department, and/or some other
14

15   public official(s) with defendant COUNTY, and were acting in the course of and within
16
     the scope of their employment with defendant COUNTY.
17

18
           9.     At all times complained of herein, defendants DOES 7 through 10, inclusive,

19   were acting as individual persons under the color of state law; under and pursuant to their
20
     status and authority as peace officers and/or Supervisory peace officers (as described
21

22   herein, above and below), and/or policy making peace officers, with the Los Angeles
23
     County Sheriff’s Department and/or otherwise with defendant COUNTY.
24

25         10.    In addition to the above and foregoing, Defendants DOES 1 through 6,
26
     inclusive, acted pursuant to a conspiracy, agreement and understanding and common plan
27

28



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 1
     and scheme to deprive the plaintiff of his federal Constitutional and statutory rights, and
 2   California constitutional and statutory state law rights, as complained of in this action.
 3
            11.   Defendants DOES 1 through 6, inclusive, acted in joint and concerted action
 4

 5   to deprive the plaintiff of those rights as complained of herein; all in violation of 42
 6
     U.S.C. § 1983, and otherwise in violation of United States (Constitutional and statutory)
 7

 8   law.
 9
            12.   Said conspiracy / agreement / understanding / plan / scheme / joint action /
10
     concerted action, above-referenced, was a proximate cause of the violation of the
11

12   plaintiff’s federal and state constitutional and statutory rights, as complained of herein.
13
                                  FIRST CAUSE OF ACTION
14
                               VIOLATION OF 42 U.S.C. § 1983
15                          Violation of Fourth Amendment Rights -
                         Excessive/Unreasonable Use of Force on Person
16
                             (Against DOES 1 through 6, inclusive)
17

18
            13.    Plaintiff hereby realleges and incorporates by reference the allegations

19   set forth in paragraphs 1 through 12, inclusive, above, as if set forth in full herein.
20
            14.     On November 21, 2020, ROMERO, a 65-year-old male, was inside of his
21

22   home, at 2532 Leo Avenue, Commerce, California, watching television when he noticed
23
     flashing lights, the sound of a helicopter and several law enforcement vehicles passing by
24

25   his home.
26
            15.     ROMERO went outside to see what was going on.
27
            16.     When ROMERO went outside, he saw that several Los Angeles County
28



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 1
     Sheriff’s Department vehicles came to a stop near his home.
 2            17.    ROMERO stood at the corner of Jillson Street and Leo Avenue and
 3
     attempted to observe what was going on.
 4

 5            18.    While ROMERO was standing a safe distance from the deputies, and
 6
     merely standing on the corner trying to observe what was taking place, DOE 1, a female
 7

 8   Los Angeles County Sheriff’s deputy, ran over to ROMERO and began yelling, “This is a
 9
     police emergency. Get out of here.” DOE 1 then immediately began repeatedly pushing
10
     ROMERO.
11

12            19.    Shocked by DOE 1’s rude and aggressive behavior along with her use of
13
     force, ROMERO said, “This is excessive force” and then asked for her badge number.
14

15            20.    ROMERO’s request for DOE 1’s badge number appeared to infuriate DOE
16
     1 who visibly became more upset and began pushing him even more aggressively.
17

18
              21.    DOES 2 through 6, inclusive, then came over and pushed ROMERO into a

19   fence.
20
              22.    DOES 1 through 6, inclusive, then slammed ROMERO to the cement
21

22   ground.
23
              23.   DOES 1 through 6, inclusive, then got on top of ROMERO and placed him
24

25   in handcuffs.
26
              24.   Once ROMERO was in handcuffs, DOES 1 through 6, inclusive, ordered
27
     ROMERO to stand. ROMERO was in so much pain that he could not get to his feet.
28



                                  COMPLAINT FOR DAMAGES
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 1
           25.      DOES 1 through 6, inclusive, then dragged ROMERO along the cement
 2   and then picked him up off the ground and put him in the back of a patrol vehicle.
 3
           26.      ROMERO was taken to the hospital where he was told he had a broken
 4

 5   collar bone along with other injuries.
 6
           27.      Once released from the hospital, ROMERO was taken to jail and booked
 7

 8   where he spent approximately four days in custody.
 9
           28.      The Los Angeles County District Attorney’s Office chose not to prosecute
10
     ROMERO.
11

12         29.      As a direct and proximate result of the actions of Defendants DOES 1
13
     through 6, inclusive, as complained of herein, ROMERO: 1) was substantially physically,
14

15   mentally and emotionally injured; 2) suffered great mental and emotional pain, suffering
16
     and distress, 4) incurred medical and psychological costs, bills and expenses and 3)
17

18
     incurred other special and general damages and expenses in an amount to be proven at

19   trial which is in excess of $3,000,000.00.
20
           30.      The actions of said defendants, and each of them, as complained of herein,
21

22   were committed maliciously, oppressively and in reckless disregard of ROMERO’s
23
     constitutional rights, sufficient for an award of punitive / exemplary damages against all
24

25   defendants and each of them, save Defendant COUNTY, in an amount to be proven at
26
     trial which is in excess of $2,000,000.00.
27
     ///
28



                                  COMPLAINT FOR DAMAGES
                                             7
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 1
                                SECOND CAUSE OF ACTION
                              VIOLATION OF 42 U.S.C. § 1983
 2                         Violation of Fourth Amendment Rights –
 3                     Unlawful / Unreasonable Seizure / Arrest of Person
                            (Against DOES 1 through 6, inclusive)
 4

 5         31.    Plaintiff hereby realleges and incorporates by reference the allegations set
 6
     forth in paragraphs 1 through 30, inclusive, above, as if set forth in full herein.
 7

 8         32.    As complained of herein above, none of the defendants to this action had a
 9
     warrant for ROMERO’s arrest, nor probable cause to believe that ROMERO had
10
     committed a crime, nor reasonable suspicion that ROMERO was a danger to anyone or
11

12   anything, nor even a reasonable suspicion of criminality afoot by ROMERO.
13
           33.    Accordingly, the seizure and arrest of ROMERO by Defendants DOES 1
14

15   through 6, inclusive, by the use of unreasonable force, constituted an unlawful and
16
     unreasonable seizure and arrest of ROMERO, in violation of his right to be free from
17

18
     unreasonable force under the Fourth Amendment to the United States Constitution.

19         34.    As a direct and proximate result of the actions of Defendants DOES 1
20
     through 6, inclusive, as complained of herein, ROMERO: 1) was substantially physically,
21

22   mentally and emotionally injured; 2) suffered great mental and emotional pain, suffering
23
     and distress, 4) incurred medical and psychological costs, bills and expenses and 3)
24

25   incurred other special and general damages and expenses in an amount to be proven at
26
     trial which is in excess of $3,000,000.00.
27
           35.    The actions of said Defendants, and each of them, as complained of herein,
28



                                   COMPLAINT FOR DAMAGES
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 1
     were committed maliciously, oppressively and in reckless disregard of ROMERO’s
 2   constitutional rights, sufficient for an award of punitive / exemplary damages against all
 3
     defendants and each of them, save for Defendant COUNTY, in an amount to be proven
 4

 5   at trial which is in excess of $2,000,000.00.
 6
                                  THIRD CAUSE OF ACTION
 7                             VIOLATION OF 42 U.S.C. § 1983
 8                 Violation of First Amendment Rights - Freedom of Speech
                             (Against DOES 1 through 6, inclusive)
 9

10         36.    Plaintiff hereby realleges and incorporates by reference the allegations set
11
     forth in paragraphs 1 through 35, inclusive, above, as if set forth in full herein.
12

13         37.    Moreover, the conduct of Defendants DOES 1 through 6, inclusive, violated
14
     ROMERO’s right to freedom of speech, specifically when DOES 1 through 6, inclusive
15
     retaliated against ROMERO for asking for their badge numbers and protesting their
16

17   actions by accusing them of excessive force.
18
           38.    A substantial or motivating factor in the decisions of the various defendants
19

20   to take the adverse actions against plaintiff as complained of above and below, was
21
     Plaintiff’s exercise of his right to freedom of speech under the First Amendment to the
22

23
     United States Constitution.

24         39.    Moreover, said defendants would not have taken said adverse actions against
25
     plaintiff, had plaintiff not exercised his right to freedom of speech under the First
26

27   Amendment to the United States Constitution.
28



                                   COMPLAINT FOR DAMAGES
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 1
            40.    The conduct of DOES 1 through 6, inclusive, would chill a person of
 2    ordinary firmness from continuing to engage in constitutionally protected activity.
 3
            41.    As a direct and proximate result of said adverse actions taken against said
 4

 5    plaintiff by said defendants as described above, plaintiff suffered serious bodily injury,
 6
      severe mental and emotional distress, medical and psychological costs and expenses, lost
 7

 8    wages / profits, attorney’s fees and other special damages; all in an amount to be proven
 9
      at trial, in excess of $3,000,000.00.
10
            42.    The actions of defendants and each of them, as complained of herein, were
11

12    done maliciously and in reckless disregard of plaintiff’s constitutional rights sufficient for
13
      an award of punitive / exemplary damages against said defendants, in an amount to be
14

15    proven at trial, in excess of $2,000,000.00.
16
                         FOURTH CAUSE OF ACTION
17                      VIOLATION OF 42 U.S.C. § 1983
18
           FEDERAL CLAIM FOR FAILURE TO PROPERLY TRAIN AND FOR
                FAILURE TO PROPERLY HIRE / FIRE / DISCIPLINE
19                            (Against COUNTY)
20
            43.    Plaintiffs hereby reallege and incorporate by reference the allegations set
21

22    forth in paragraphs 1 through 42, inclusive, above, as if set forth in full herein.
23
            44.    As complained of herein above, the acts of Defendants DOES 1 through 6,
24

25    inclusive, deprived ROMERO of his rights under the laws of the United States and The
26
      United States Constitution.
27

28



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 1
            45.    The training policies of COUNTY were not adequate to train its peace
 2    officer employees to properly and lawfully handle situations similar to the one they were
 3
      presented with when they confronted ROMERO
 4

 5          46.    COUNTY was deliberately indifferent to the obvious consequences of its
 6
      failure to train, discipline and/or terminate its peace officer employees adequately.
 7

 8          47.    The failure of COUNTY to provide adequate training, discipline and/or
 9
      terminate its deputies caused the deprivation of ROMERO’s rights by Defendants DOES
10
      1 through 6, inclusive.
11

12          48.    COUNTY’s failure to train, discipline, and/or terminate is closely related to
13
      the deprivation of ROMERO’s rights as to be the moving force that ultimately caused
14

15    ROMERO’s injuries.
16
            49.    As a direct and proximate result of the actions of COUNTY, as complained
17

18
      of herein, ROMERO: 1) was substantially physically, mentally and emotionally injured;

19    2) suffered great mental and emotional pain, suffering and distress, 4) incurred medical
20
      and psychological costs, bills and expenses and 3) incurred other special and general
21

22    damages and expenses in an amount to be proven at trial which is in excess of
23
      $3,000,000.00.
24

25    ///
26
      ///
27
      ///
28



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                                             11
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 1
                                 FIFTH CAUSE OF ACTION
                             [VIOLATION OF 42 U.S.C. § 1983]
 2                 Claim Against Local Governing Body Defendants Based On
 3                           Official Policy, Practice, Or Custom
                                      (Against COUNTY)
 4

 5           50.   Plaintiffs hereby reallege and incorporate by reference the allegations set
 6
      forth in paragraphs 1 through 49 inclusive, above, as if set forth in full herein.
 7

 8           51.   As shown above, the actions of Defendants DOES 1 through 6, inclusive,
 9
      deprived the plaintiff of his particular rights under the United States Constitution, as
10
      described above.
11

12           52.   At all times complained of herein, Defendants DOES 1 through 6, inclusive,
13
      were acting pursuant to the policies, customs, usages and practices of the Los Angeles
14

15    County Sheriff’s Department / defendant COUNTY: 1) for using excessive /
16
      unreasonable force on persons; 2) for unlawfully seizing (detaining and arresting)
17

18
      persons; 3) for fabricating / destroying / concealing / altering evidence in criminal and

19    civil actions, and for otherwise “framing” persons in criminal actions, in order to falsely
20
      and maliciously, oppressively convict innocent persons, to protect them and other police
21

22    officers and supervisory personnel from civil, administrative and criminal liability and
23
      were a proximate cause of the very same federal constitutional violations complained of
24

25    below by the plaintiff in this action.
26
             53.    Said actions of said defendants were done by them under the color of state
27
      law.
28



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 1
            54.    As a proximate result of said defendants acting pursuant to said policies,
 2    customs, usages and practices of defendant COUNTY, above-described, said defendants
 3
      committed said actions complained of above.
 4

 5          55.    As a direct and proximate result of the actions of defendant COUNTY,
 6
      Plaintiff ROMERO: 1) was substantially physically, mentally and emotionally injured;
 7

 8    2) suffered great mental and emotional pain, suffering and distress, 4) incurred medical
 9
      and psychological costs, bills and expenses and 3) incurred other special and general
10
      damages and expenses in an amount to be proven at trial which is in excess of
11

12    $3,000,000.00.
13
            WHEREFORE, plaintiff prays for judgment as follows:
14

15                a) For a judgment against all defendants for compensatory damages in an
16
                       amount in excess of $3,000,000.00;
17

18
                  b) For a judgment against all defendants, save defendant COUNTY, for

19                     punitive damages in an amount in excess of $2,000,000.00;
20
                  c) For an award of reasonable attorney’s fees and costs;
21

22                d) For a trial by jury; and
23
                  e) For such other and further relief as this honorable court deems just and
24

25                     equitable.
26

27                                                   /S/ Gregory Peacock_____ _
                                                     GREGORY PEACOCK
28



                                    COMPLAINT FOR DAMAGES
                                              13
